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     ELECTRIC BIKE TECHNOLOGIES, INC.
 8

 9                                UNITED STATES DISTRICT COURT
10                               EASTERN DISTRICT OF CALIFORNIA
11    ERIKA STEINWAND, Individually and as            ) Case No.
      Successor in Interest to the Estate of          )
12    Decedent ENRIQUE SY,                            ) PETITION FOR REMOVAL OF
13                                                    ) ACTION PURSUANT TO 28 U.S.C.
                             Plaintiff,               ) § 1441(b) [DIVERSITY]; DEMAND FOR
14                                                    ) JURY TRIAL
               v.                                     )
15                                                    ) [Sacramento Superior Court Case No.
      ELECTRIC BIKE TECHNOLOGIES INC.,                ) 23CV009398]
16    ROCHELLE SY, KRISTINE YULO, and                 )
17    DOES 1 through 50, inclusive,                   )
                                                      )
18                           Defendants.              )
                                                      )
19
              TO THE CLERK OF THE ABOVE-CAPTIONED COURT:
20
              PLEASE TAKE NOTICE that defendant ELECTRIC BIKE TECHNOLOGIES INC.
21
     (hereinafter “ELECTRIC BIKE”) hereby removes to this Court the state court action described
22
     below.
23
                                             JURISDICTION
24
              1.    This wrongful death and survival action arises out of a November 30, 2021
25
     incident in which plaintiff’s decedent, ENRIQUE SY, fell from an electric trike manufactured by
26
     defendant ELECTRIC BIKE and sustained injuries from which he succumbed approximately
27
     two months later. See, Complaint ¶ 9. The incident occurred “in the parking lot of the residential
28
     Erika Steinwand v. Electric Bike Technologies Inc., et al. – Case No.
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     JURY TRIAL
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 1   community in Sacramento, California, where he lived.” Id. Plaintiff’s decedent, then, was a

 2   resident of the State of California.

 3             2.   Defendant ELECTRIC BIKE is a corporation incorporated and organized under

 4   the laws of the State of Pennsylvania, whose principal place of business is in Bucks County,

 5   Pennsylvania. A true and correct copy of a Subsistence Certificate issued by the Pennsylvania

 6   Secretary of State is attached to the accompanying Declaration of Craig A. Livingston in Support

 7   as Exhibit A. This certificate confirms ELECTRIC BIKE is an active domestic business

 8   corporation in Pennsylvania.

 9             3.   Plaintiff ERIKA STEINWAND brings this action individually and as a Successor
10   in Interest to the Estate of ENRIQUE SY, alleging she has complied with California Code of
11   Civil Procedure section 377.32. 1 Id. at ¶ 2. Plaintiff ERIKA STEINWAND is the surviving
12   daughter and heir of ENRIQUE SY, id. at ¶ 2, 4, and she is a resident of the State of Hawaii. Id.

13   at ¶ 3.

14             4.   Plaintiff ERIKA STEINWAND filed her wrongful death action on October 3,

15   2023, in the Sacramento Superior Court, State of California (Case No. 23CV009398).

16             5.   Defendant ELECTRIC BIKE is not a citizen of the State of California or the State

17   of Hawaii.

18             6.   The matter in controversy far exceeds the sum of $75,000, exclusive of interest,

19   attorneys' fees and costs. This is apparent from the face of the Complaint because plaintiff

20   alleges that decedent ENRIQUE SY fell from the subject electric trike causing him to “strike his

21   head, which caused a spinal cord injury resulting in him being paralyzed resulting in

22   quadriplegia.” Id. at ¶ 9. Plaintiff’s decedent “lived for approximately two months as a

23   quadriplegic before ultimately losing his lift to the injury.” The claimed damages resulting from

24

25   1
        Plaintiff ERIKA STEINWAND filed a declaration in the state court action stating under
26   penalty of perjury that she is the successor-in-interest to the decedent’s interest. See,
     “Declaration and Attachment Regarding Commencement of Action by Successor in Interest
27   Pursuant to CCP Section 377.32” attached hereto as Exhibit A.
28
     Erika Steinwand v. Electric Bike Technologies Inc., et al. – Case No.
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 1   this type of injury and subsequent death easily exceed the jurisdictional minimum of this Court.

 2           7.     The Complaint includes a Third Cause of Action entitled, “Nominal Defendants:

 3   ROCHELLE SY and KRISTINE YULO.” In this cause of action, plaintiff alleges that

 4   ROCHELLE SY and KRISTINE YULO “are being identified and disclosed as nominal

 5   defendants rather than Plaintiffs in this action which is authorized by C.C.P. § 382.” Complaint,

 6   ¶ 22. 2 Nominal defendant ROCHELLE SY, another daughter of plaintiff’s decedent ENRIQUE

 7   SY, is a resident of the state of Hawaii. Id. at ¶ 20 Nominal defendant KRISTINE YULO, a

 8   daughter of decedent ENRIQUE SY as well, is a resident of the State of California. Id. at ¶ 21.

 9                                    GROUNDS FOR REMOVAL
10           8.     On October 4, 2023, plaintiff ERIKA STEINWAND commenced a civil action in

11   Sacramento County Superior Court, State of California, entitled. “ERIKA STEINWAND,

12   Individually and as Successor in Interest to the Estate of Decedent ENRIQUE SY v. ELECTRIC

13   BIKE TECHNOLOGIES INC., ROCHELLE SY, KRISTINE YULO, and DOES 1 through 50,

14   inclusive,” Case No. 23CV009390. True and correct copies of the Summons and Complaint are

15   attached hereto and marked as Exhibit B. Defendant ELECTRIC BIKE was served with the

16   Summons and Complaint on October 18, 2023.

17           9.     In said action, plaintiff ERIKA STEINWAND seeks non-economic damages,

18   funeral, burial and other expenses, loss of decedent’s care and support, as well as survival action

19   damages on behalf of plaintiff’s decedent ENRIQUE SY, including past medical expenses, pain

20   and suffering, past personal property damage and related damages on theories of negligence and

21

22
     2
         Under California law, there may only be a single action for wrongful death in which all heirs
23   must join. This policy is referred to as the “one action” rule. Gonzales v. Southern Cal. Edison
     Co., 77 Cal.App.4th 485, 489 (1999). “One of its effects is that settlement of a wrongful death
24   case instituted by only some of the heirs will bar others from prosecuting another action against
25   the same defendant.” Id. Any heir who does not consent to be joined as a plaintiff in a wrongful
     death action must be named as a defendant pursuant to Code of Civil Procedure section 382. See,
26   Romero v. Pacific Gas & Elec. Co., 156 Cal.App.4th 211, 216 (2007). However, “[a] person
     named as a nominal defendant and properly joined is in reality, a plaintiff in the case. Id.
27   (quotation marks omitted). Accord, Estate of Kuebler v. Superior Court, 81 Cal.App.3d 500, 503
     (1978); Ruttenberg v. Ruttenberg, 53 Cal.App.4th 801, 808 (1977).
28
     Erika Steinwand v. Electric Bike Technologies Inc., et al. – Case No.
     PETITION FOR REMOVAL OF ACTION PURSUANT TO 28 U.S.C. § 1441(b) [DIVERSITY]; DEMAND FOR
     JURY TRIAL
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         Case 2:23-cv-02571-JDP Document 1 Filed 11/07/23 Page 4 of 23


 1   strict product liability. Complaint ¶10-11.

 2           10.    Defendant ELECTRIC BIKE caused to be filed an Answer to plaintiff’s

 3   unverified Complaint on or about November 1, 2023. A true and correct copy of the Answer is

 4   attached hereto and marked as Exhibit C. 3 The Answer was served on plaintiff’s counsel on

 5   October 31, 2023. See, Proof of Service attached to the Answer.

 6           11.    This Court has original jurisdiction of this action pursuant to 28 U.S.C. §1332,

 7   and the Complaint is one which may be removed to this Court by defendant ELECTRIC BIKE

 8   pursuant to the provisions of 28 U.S.C. §1441(b) in that it is a civil action between citizens of

 9   different states, and the amount in controversy exceeds the sum of $75,000, exclusive of interest
10   and costs.
11           12.    In this action, only plaintiff ERIKA STEINWAND is the real party in interest, as
12   she is the only plaintiff suing either in her individual capacity or as Successor in Interest to the
13   Estate of ENRIQUE SY. Complaint ¶¶ 2 – 4, 14, 16 and 19. Neither nominal defendant, who are
14   identified as defendants in the caption of the Complaint, is affirmatively seeking recovery of
15   damages. “A federal court must disregard nominal or formal parties and rest jurisdiction only
16   upon the citizenship of real parties to the controversy." Navarro Savings Ass'n v. Lee, 446 U.S.
17   458, 461, 100 S. Ct. 1779, 64 L. Ed. 2d 425 (1980).
18           13.    28 U.S.C. section 1332(c)(2) provides that "the legal representative of the estate
19   of a decedent shall be deemed to be a citizen only of the same State as decedent." 28 U.S.C. §
20   1332(c)(2). Plaintiff ERIKA STEINWAND is therefore considered a resident of the State of
21   California in her capacity as Successor in Interest to the Estate of ENRIQUE SY. However,
22   insofar as plaintiff ERIKA STEINWAND is also suing for wrongful death damages in her
23

24   3
        As set forth in the accompanying Livingston Declaration at para. 5 and Exhibit B,
25   ELECTRIC BIKE’s Answer to Plaintiff’s Unverified Complaint was sent to One Legal on
     October 31, 2023 for filing on or before November 1. One Legal accepted the filing order and
26   thereafter filed the Answer and tendered the first appearance fee. However, due to the serious
     backlog of filing in the Sacramento Superior Court clerk’s office, the Answer does not yet appear
27   on the court’s docket for this case.
28
     Erika Steinwand v. Electric Bike Technologies Inc., et al. – Case No.
     PETITION FOR REMOVAL OF ACTION PURSUANT TO 28 U.S.C. § 1441(b) [DIVERSITY]; DEMAND FOR
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 1   individual capacity, she may be considered “a citizen of and resident within the State of Hawaii.”

 2   Complaint ¶ 3. Thus, if she were to argue there is a lack of complete diversity because nominal

 3   defendant KRISTINE YULO is also a resident of the State of California, or because nominal

 4   defendant ROCHELLE SY is a resident of the State of Hawaii, such a position would ignore the

 5   well-established “nominal party” exception to the complete diversity requirement. "Defendants

 6   who are nominal parties with nothing at stake may be disregarded in determining diversity,

 7   despite the propriety of their technical joinder." Strotek Corp. v. Air Transport Ass'n. of America,

 8   300 F.3d 1129, 1133 (9th Cir. 2002)(citing Prudential Real Estate Affiliates, Inc. v. PPR Realty,

 9   Inc., 204 F.3d 867, 873 (9th Cir. 2000)); see also, Kuntz v Lamar Corp., 385 F.3d 1177, 1183
10   (9th Cir. 2004). Accordingly, there is complete diversity between plaintiff ERIKA
11   STEINWAND, whether she is considered a citizen of the State of Hawaii in her individual

12   capacity, or a resident of the State of California in her capacity as the Successor in Interest to the

13   Estate of ENRIQUE SY, because the citizenship of nominal defendants ROCHELLE SY and

14   KRISTINE YULO is disregarded, and defendant ELECTRIC BIKE is a citizen of the State of

15   Pennsylvania.

16          14.      Defendant Electric Bike did not seek or obtain the consent of nominal defendants

17   ROCHELLE SY or KRISTINE YULO to remove this case. Although the usual rule is that all

18   defendants in a state action must join in a petition for removal, the rule of unanimity does not

19   apply to nominal parties. United Computer Systems, Inc. v. AT & T Corp., 298 F.3d 756, 762

20   (9th Cir. 2002). Removal is therefore proper here even without the consent of either or both

21   nominal defendants. See, Stuefen v. MV Senior Living LLC, 2016 U.S. Dist. LEXIS 145663 *13

22   (N.D. Cal. 2016)[failure to obtain consent of nominal defendants in wrongful death action of no

23   consequence]; see also, Bates v. Mortgage Electronic Registration Sys., Inc., 694 F.3d 1076,

24   1080 (9th Cir. 2012) (citing Navarro)(nominal parties that would not benefit from a suit may be

25   disregarded for determination of diversity jurisdiction); Shuler v. EmeriCare Inc., 2017 U.S.

26   Dist. LEXIS 118150 *8-9; 2017 WL 3193647 (C.D. Cal. 2017)[citizenship of nominal

27   defendants in wrongful death action irrelevant for purposes of diversity of citizenship analysis].

28
     Erika Steinwand v. Electric Bike Technologies Inc., et al. – Case No.
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                                                               -5-
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 1          Based on the foregoing, defendant ELECTRIC BIKE respectfully requests that this Court

 2   accept removal of this action.

 3   Dated: November 7, 2023                   LIVINGSTON LAW FIRM

 4

 5

 6

 7                                             By
                                                      Craig A. Livingston
 8                                                    Attorneys for Defendant
                                                      ELECTRIC BIKE TECHNOLOGIES INC.
 9
10                                    DEMAND FOR JURY TRIAL

11          Pursuant to Fed. R. Civ. P. 38(b), defendant ELECTRIC BIKE hereby demands a jury in

12   the above-entitled action.

13   Dated: November 7, 2023                   LIVINGSTON LAW FIRM

14

15

16
                                               By
17
                                                      Craig A. Livingston
18                                                    Attorneys for Defendant
                                                      ELECTRIC BIKE TECHNOLOGIES INC.
19

20

21

22

23

24

25

26

27

28
     Erika Steinwand v. Electric Bike Technologies Inc., et al. – Case No.
     PETITION FOR REMOVAL OF ACTION PURSUANT TO 28 U.S.C. § 1441(b) [DIVERSITY]; DEMAND FOR
     JURY TRIAL
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 1                                          CERTIFICATE OF SERVICE

 2            I, the undersigned, hereby certify that on November 7, 2023, a true copy of the
 3   foregoing PETITION FOR REMOVAL OF ACTION PURSUANT TO 28 U.S.C.
 4   § 1441(b) [DIVERSITY]; DEMAND FOR JURY TRIAL was filed electronically with the
 5   Clerk of the Court using the CM/ECF system, which will automatically send email notification
 6   of such filing to the following attorneys of record:
 7
     Christopher W. Wood, Esq.
 8
     Neil J. Ferrera, Esq.
 9   DREYER BABICH BUCCOLA WOOD
     CAMPORA, LLP
10   20 Bicentennial Circle
     Sacramento, CA 95826
11   Tel: (916) 379-3500
12   Fax: (916) 379-3599
     Email: DBBWC-ESERVICE@dbbwc.com
13
     Attorneys for Plaintiff ERIKA STEINWAND
14

15   Service was accomplished as follows:
16
      X       BY US MAIL, According to Normal Business Practices. At my place of business at
17            the above address, I sealed the above document(s) in an envelope addressed to the
              above, and I placed that sealed envelope for collection and mailing following ordinary
18            business practices, for deposit with the U.S. Postal Service. I am readily familiar with
              the business practice at my place of business for the collection and processing of
19            correspondence for mailing with the U.S. Postal Service. Correspondence so collected
20            and processed is deposited with the U.S. Postal Service the same day in the ordinary
              course of business, postage fully prepaid.
21
            I declare under penalty of perjury under the laws of the State of California that the
22   foregoing is true and correct, and that this declaration was executed on November 7, 2023, at
     Walnut Creek, California.
23
                                                                  /s/ Christine Williams
                                                             ____________________________
24
                                                                   Christine Williams
25

26

27

28

     Steinwand, et al. v. Electric Bike Technologies, Inc., et al.
     Proof of Service
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 EXHIBIT A
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  EXHIBIT B
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  EXHIBIT C
      Case 2:23-cv-02571-JDP Document 1 Filed 11/07/23 Page 19 of 23


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 7
     Attorneys for Defendant
 8   ELECTRIC BIKE TECHNOLOGIES, INC.

 9                                 SUPERIOR COURT OF CALIFORNIA

10                         COUNTY OF SACRAMENTO - UNLIMITED CIVIL

11    ERIKA STEINWAND, Individually and as
                                        ) Case No. 23CV009398
                                        )
      Successor in Interest to the Estate of
12    Decedent ENRIQUE SY,              ) ANSWER OF DEFENDANT ELECTRIC
                                        ) BIKE TECHNOLOGIES, INC. TO
13                                      )
                      Plaintiff,        ) PLAINTIFF’S UNVERIFIED
14                                      ) COMPLAINT
           v.                           )
15                                      ) Complaint Filed: 10/04/23
      ELECTRIC BIKE TECHNOLOGIES, INC., ) Trial Date: None
16    ROCHELLE SY, KRISTINE YULO, and   )
                                        )
      DOES 1 THROUGH 50, inclusive,
17                                      )
                                        )
18                    Defendants.       )

19           COMES NOW defendant ELECTRIC BIKE TECHNOLOGIES, INC. and answers the

20   unverified Complaint of ERIKA STEINWAND as follows:

21                                           GENERAL DENIAL

22           Under the provisions of California Code of Civil Procedure section 431.30, this

23   answering defendant denies generally and specifically, conjunctively and disjunctively, each and

24   every allegation contained in the Complaint and further denies that plaintiff and/or plaintiff’s

25   decedent has sustained damages in any sum or sums alleged, or any other sum or at all, as a

26   result of any act or omission by or on behalf of this answering defendant.

27   ///

28   Steinwand, et al. v. Electric Bike Technologies, Inc., et al. Sacramento County Case No. 23CV009398
     ANSWER OF DEFENDANT ELECTRIC BIKE TECHNOLOGIES, INC. TO PLAINTIFF’S UNVERIFIED
     COMPLAINT
                                                                 -1-
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 1                                      AFFIRMATIVE DEFENSES

 2           1. AS A FIRST, SEPARATE AND AFFIRMATIVE DEFENSE, this answering

 3   defendant alleges that plaintiff fails to state a cause of action upon which relief can be granted

 4   against this answering defendant.

 5           2. AS A SECOND, SEPARATE AND AFFIRMATIVE DEFENSE, this answering

 6   defendant alleges that each of the causes of action asserted in the Complaint is barred by the

 7   statute of limitations as set forth in the Code of Civil Procedure, including but not limited to

 8   section 335.1.

 9           3. AS A THIRD, SEPARATE AND AFFIRMATIVE DEFENSE, this answering
10   defendant alleges that plaintiff’s decedent was concurrently and comparatively negligent in and
11   about the matters referred to in said Complaint, and that said carelessness and negligence on his
12   own part proximately and directly contributed to and caused the injuries, loss, and damages
13   complained of by plaintiff, if any there were.
14           4. AS A FOURTH, SEPARATE AND AFFIRMATIVE DEFENSE, this answering
15   defendant alleges the injuries and damages complained of by plaintiff, if any there were, were
16   either wholly or in part proximately caused by the negligence or other wrongful acts or
17   omissions of persons or entities other than this answering defendant, and that said negligence or
18   wrongful acts or omissions either are imputed to plaintiff by reason of their relationship with said
19   persons or entities, or comparatively reduces the proportion of negligence and corresponding
20   liability of this answering defendant, if any, which liability is specifically denied.
21           5. AS A FIFTH, SEPARATE AND AFFIRMATIVE DEFENSE, this answering
22   defendant alleges that plaintiff’s decedent failed to exercise reasonable care and diligence to
23   avoid loss and to minimize and mitigate damages, if any there were, and that this failure to
24   mitigate damages alone aggravated any damages or injuries to plaintiff’s decedent, if any, and
25   therefore precludes or reduces recovery against this answering defendant.
26           6. AS A SIXTH, SEPARATE AND AFFIRMATIVE DEFENSE, this answering
27   defendant alleges that plaintiff’s decedent had express knowledge of the risks and hazards set
28   Steinwand, et al. v. Electric Bike Technologies, Inc., et al. Sacramento County Case No. 23CV009398
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     COMPLAINT
                                                                 -2-
      Case 2:23-cv-02571-JDP Document 1 Filed 11/07/23 Page 21 of 23


 1   forth in the Complaint, as well as the magnitude of the risks and hazards, and therefore

 2   knowingly and willingly assumed those risks.

 3           7. AS A SEVENTH, SEPARATE AND AFFIRMATIVE DEFENSE, this answering

 4   defendant contends that if liability is assessed against it, pursuant to Civil Code section 1431 et

 5   seq., defendant shall be liable only for the amount of non-economic damages allocated to it in

 6   direct proportion to the percentage of fault assessed against it by the trier of fact and requests that

 7   a separate judgment be rendered against it for that amount; but that defendant, in setting forth

 8   this affirmative defense, makes no admission that it is liable to plaintiff in any amount or in any

 9   proportion; and defendant, in setting forth this affirmative defense, makes no admission that
10   plaintiff has been damaged in any sum or sums at all.
11           8. AS AN EIGHTH, SEPARATE AND AFFIRMATIVE DEFENSE, this answering
12   defendant alleges that the subject Liberty Trike product, including its design, manufacture, and
13   assembly were at all material times consistent with industry customs, applicable standards, and
14   available technological, scientific, and industrial state-of-the-art.
15           9. AS A NINTH, SEPARATE AND AFFIRMATIVE DEFENSE, this answering
16   defendant alleges that the subject Liberty Trike product was materially and/or substantially
17   altered or changed from its original condition and that such alterations or changes were the
18   causes of plaintiff’s alleged damages, if there were any.
19           10. AS A TENTH, SEPARATE AND AFFIRMATIVE DEFENSE, this answering
20   defendant alleges the use of the Liberty Trike product alleged in the Complaint by plaintiff’s
21   decedent constitutes unforeseeable misuse and that this misuse was the sole and proximate cause
22   of plaintiff’s alleged injuries and damages, if there were any.
23           11. AS AN ELEVENTH, SEPARATE AND AFFIRMATIVE DEFENSE, this
24   answering defendant alleges that plaintiff’s damages resulted from a danger so commonly known
25   by the general public that the defendant had no duty to warn plaintiff’s decedent.
26           12. AS A TWELFTH, SEPARATE AND AFFIRMATIVE DEFENSE, this answering
27   defendant alleges that plaintiff’s claims are barred by the doctrine of laches.
28   Steinwand, et al. v. Electric Bike Technologies, Inc., et al. Sacramento County Case No. 23CV009398
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                                                                 -3-
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 1            13. AS A THIRTEENTH, SEPARATE AND AFFIRMATIVE DEFENSE, this

 2   answering defendant alleges that plaintiff’s claims are barred by the doctrine of unclean hands.

 3            14. AS A FOURTEENTH, SEPARATE AND AFFIRMATIVE DEFENSE, this

 4   answering defendant alleges that plaintiff’s claims are barred by the doctrine of estoppel.

 5            15. AS A FIFTEENTH, SEPARATE AND AFFIRMATIVE DEFENE, this

 6   answering defendant alleges that plaintiff’s decedent failed to read and heed the Owner’s Manual

 7   provided with the subject Liberty Trike product, or availed himself of several “how to” videos

 8   available on this answering defendant’s website.

 9            16. AS A SIXTEENTH, SEPARATE AND AFFIRMATIVE DEFENSE, this
10   answering defendant alleges that the injuries and damages complained of by plaintiff, if any
11   there were, were either wholly or in part proximately caused by an intervening or superseding
12   cause.
13            17. AS A SEVENTEENTH, SEPARATE AND AFFIRMATIVE DEFENSE, this
14   answering defendant alleges that plaintiff has waived, expressly or impliedly, the right to
15   maintain this action against this answering defendant.
16            WHEREFORE, this answering defendant prays that plaintiff takes nothing by said
17   Complaint, and this answering defendant be awarded costs of suit incurred herein and such other
18   and further relief as the Court may deem just and proper.
19

20   Dated: October 31, 2023.                        LIVINGSTON LAW FIRM
21

22

23
                                                     By:
24                                                           Craig A. Livingston
                                                             Attorneys for Defendant
25                                                           ELECTRIC BIKE TECHNOLOGIES, INC.

26

27

28   Steinwand, et al. v. Electric Bike Technologies, Inc., et al. Sacramento County Case No. 23CV009398
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     COMPLAINT
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 1                                            PROOF OF SERVICE

 2           I, the undersigned, hereby declare that I am over the age of eighteen years and not a
     party to the within action. I am readily familiar with this firm’s business practice for collection
 3
     and processing of documents for mailing with the U.S. Postal Service. My business address is
 4   1600 South Main Street, Suite 280, Walnut Creek, California 94596. On the date set forth
     below, I served the following document(s):
 5
             ANSWER OF DEFENDANT ELECTRIC BIKE TECHNOLOGIES, INC. TO
 6           PLAINTIFF’S UNVERIFIED COMPLAINT
 7
     upon the following at the address(es) stated below:
 8
     Christopher W. Wood, Esq.
 9   Neil J. Ferrera, Esq.
     DREYER BABICH BUCCOLA WOOD
10   CAMPORA, LLP
11   20 Bicentennial Circle
     Sacramento, CA 95826
12   Tel: (916) 379-3500
     Fax: (916) 379-3599
13   Email: DBBWC-ESERVICE@dbbwc.com
14   Attorneys for Plaintiff ERIKA STEINWAND
15

16   Service was accomplished as follows:

17    X
     ____    BY US MAIL, According to Normal Business Practices. At my place of business at
             the above address, I sealed the above document(s) in an envelope addressed to the
18
             above, and I placed that sealed envelope for collection and mailing following ordinary
19           business practices, for deposit with the U.S. Postal Service. I am readily familiar with
             the business practice at my place of business for the collection and processing of
20           correspondence for mailing with the U.S. Postal Service. Correspondence so collected
             and processed is deposited with the U.S. Postal Service the same day in the ordinary
21           course of business, postage fully prepaid.
22
            I declare under penalty of perjury under the laws of the State of California that the
23   foregoing is true and correct, and that this declaration was executed on October 31, 2023, at
     Walnut Creek, California.
24
                                                         _________________________
25                                                             Christine Williams
26

27

28

     Steinwand, et al. v. Electric Bike Technologies, Inc., et al. Sacramento County Case No. 23CV00939
     Proof of Service
